        Case 19-01659-5-SWH                 Doc 9 Filed 04/13/19 Entered 04/14/19 01:18:42                            Page 1 of 3
                                             United States Bankruptcy Court
                                          Eastern District of North Carolina
In re:                                                                                                     Case No. 19-01659-SWH
Teresa D Hines                                                                                             Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0417-5                  User: admin                        Page 1 of 1                          Date Rcvd: Apr 11, 2019
                                      Form ID: 309I                      Total Noticed: 21


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 13, 2019.
db             +Teresa D Hines,   67 Lake Forest Pkwy,    Wilmington, NC 28401-6338
6047461        +Financial Data Systems,    Att: Managing Officer/Agent,   PO Box 4021,
                 Wilmington, NC 28406-1021
6047463        +Kia Motors Finance,   Att: Managing Officer/Agent,    10550 Talbert Ave,
                 Fountain Valley, CA 92708-6031
6047465        +NC Department of Revenue,    Att: Managing Officer/Agent,    PO Box 871,    Raleigh, NC 27602-0871
6047466        +New Hanover County Finance Dept,    Att: Managing Officer/Agent,
                 230 Government Center Drive Suite 1,    Wilmington, NC 28403-1696
6047467        +Pmab Llc,   Att: Managing Officer/Agent,    4135 S Stream Blvd Ste 4,     Charlotte, NC 28217-4636
6047468        +Southern Loans,   Att: Managing Officer/Agent,    2394 Carolina Beach Road,
                 Wilmington, NC 28401-7654
6047469        +Sternrecsvcs,   Att: Managing Officer/Agent,    1102 Grecade Street,     Greensboro, NC 27408-8710
6047470        +Tbom/milestone,   Att: Managing Officer/Agent,    Po Box 4499,    Beaverton, OR 97076-4499
6047471        +Time Finance,   Att: Managing Officer/Agent,    PO Box 4112,    Wilmington, NC 28406-1112

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: nclaw98@gmail.com Apr 12 2019 02:56:32      Christopher T. Vonderau,
                 Law Offices of Christopher T. Vonderau,    4022 Shipyard Blvd.,    Wilmington, NC 28403
6047455         E-mail/Text: bankruptcy@bbandt.com Apr 12 2019 02:56:47       BB&T,   Attn: Mr. Jack R. Hayes,
                 P.O. Box 1847,   Wilson, NC 27894-1847
6047456        +EDI: PHINGENESIS Apr 12 2019 06:58:00      Cb Indigo/gf,    Att: Managing Officer/Agent,
                 PO Box 4499,   Beaverton, OR 97076-4499
6047457        +EDI: WFNNB.COM Apr 12 2019 06:58:00      Comenitybank/wayfair,    Att: Managing Officer/Agent,
                 PO Box 182789,   Columbus, OH 43218-2789
6047458        +EDI: RCSFNBMARIN.COM Apr 12 2019 06:58:00      Credit One Bank Na,    Att: Managing Officer/Agent,
                 PO Box 98875,   Las Vegas, NV 89193-8875
6047459        +E-mail/Text: bkrnotice@prgmail.com Apr 12 2019 02:56:53       Dba Paragon Revenue Gr,
                 Att: Managing Officer/Agent,   P O Box 127,    Concord, NC 28026-0127
6047460        +E-mail/Text: bankruptcy@dcu.org Apr 12 2019 02:57:07       Digital Fed Credit Uni,
                 Att: Managing Officer/Agent,   220 Donald Lynch Blvd,     Marlborough, MA 01752-4708
6047462         EDI: IRS.COM Apr 12 2019 06:58:00     Internal Revenue Service,     Att: Managing Officer/Agent,
                 PO Box 7346,   Philadelphia, PA 19101-7346
6047464         E-mail/Text: ktramble@lendmarkfinancial.com Apr 12 2019 02:56:37       Lendmark Financial Ser,
                 Att: Managing Officer/Agent,   2118 Usher St Nw,    Covington, GA 30014
6047472        +EDI: VERIZONCOMB.COM Apr 12 2019 06:58:00      Verizon Wireless,    Att: Managing Officer/Agent,
                 Po Box 650051,   Dallas, TX 75265-0051
6047473        +EDI: BLUESTEM Apr 12 2019 06:59:00      Webbank/fingerhut,    Att: Managing Officer/Agent,
                 6250 Ridgewood Road,   Saint Cloud, MN 56303-0820
                                                                                              TOTAL: 11

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 13, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 11, 2019 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0
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                                                            United States Bankruptcy Court
                                                            Eastern District of North Carolina
                                                                  Wilmington Division


Debtor 1                 Teresa D Hines                                                  Social Security number or ITIN     xxx−xx−0353

                         First Name   Middle Name    Last Name                           EIN     _ _−_ _ _ _ _ _ _
Debtor 2                                                                                 Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name    Last Name
                                                                                         EIN     _ _−_ _ _ _ _ _ _
                                                                                         Date case filed for chapter 13 4/11/19
Case number:          19−01659−5−SWH




Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                           07/18

For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered. This notice has important information about the case for creditors, debtors, and trustees, including
information about the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in
effect, creditors cannot sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors.
Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required
to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not
exist at all, although debtors can ask the court to extend or impose a stay.

Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge
under 11 U.S.C. § 1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified
in this notice. Creditors who want to have their debt excepted from discharge may be required to file a complaint in the
bankruptcy clerk's office by the same deadline. (See line 14 below for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                             About Debtor 1:                                          About Debtor 2:
1. Debtor's full name                        Teresa D Hines

     All other names used in the last 8
2.
     years
                                             67 Lake Forest Pkwy
3. Address
                                             Wilmington, NC 28401
                                             Christopher T. Vonderau                                  Contact phone: 910 202−3110
                                             Law Offices of Christopher T. Vonderau
4. Debtor's attorney
   Name and address                          4022 Shipyard Blvd.
                                             Wilmington, NC 28403
5. Bankruptcy trustee                        Joseph A. Bledsoe III                                    Contact phone: 252 633−0074
   Name and address                          PO Box 1618
                                             New Bern, NC 28563
6. Bankruptcy clerk's office                                                                          Office Hours: 8:30 a.m. − 4:30 p.m.
   Documents in this case may be filed       300 Fayetteville Street, 4th Floor                       Contact phone: 919−856−4752
   at this address.                          P.O. Box 791                                             Date: 4/11/19
   You may inspect all records filed in      Raleigh, NC 27602
   this case at this office or online at
    www.pacer.gov.
                                                                                                                     For more information, see page 2
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Debtor Teresa D Hines                                                                                                     Case number 19−01659−5−SWH
7. Meeting of creditors                                                            Location:
   Debtors must attend the meeting to be questioned under oath. In                 New Hanover County Public Library, Northeast
   a joint case, both spouses must attend. Creditors may attend, but               Branch, 1241−A Military Cutoff Road, Wilmington,
   are not required to do so.                                                      NC 28405
  The meeting may be continued or adjourned to a later date. If so, May 7, 2019 at 10:30 AM
  the date will be on the court docket.                             Please bring a government issued picture ID with you to the
                                                                                   meeting of creditors. This ID is required for entry into the building.
8. Deadlines
    The bankruptcy clerk's office must receive these documents and any required filing fee by the following deadlines.
    Deadline to file a complaint to challenge dischargeability of certain debts: Filing deadline: 7/8/19
    You must file:
    •   a motion if you assert that the debtors are not entitled to receive a discharge under U.S.C. § 1328(f) or
    •   a complaint if you want to have a particular debt excepted from discharge under 11 U.S.C. § 523(a)(2) or (4).

    Deadline for all creditors to file a proof of claim (except governmental units): Filing deadline: 6/20/19
    Deadline for governmental units to file a proof of claim: Filing deadline: 10/8/19
    Deadlines for filing proof of claim:
    A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
    www.nceb.uscourts.gov or any bankruptcy clerk's office. Alternatively, the claim may be filed electronically on the above
    website by accessing the Proof of Claim section. When filing electronically, it is not necessary to complete a paper claim
    form.
    If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file a proof of
    claim even if your claim is listed in the schedules that the debtor filed.
    Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of claim
    submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For example, a
    secured creditor who files a proof of claim may surrender important nonmonetary rights, including the right to a jury trial.
    Deadline to object to exemptions:
    The law permits debtors to keep certain property as exempt. If you believe that the law does not authorize an exemption
    claimed, you may file an objection.
    Filing deadline: 30 days after the conclusion of the meeting of creditors

9. Filing of plan
   The debtor has filed a plan. The plan will be served separately by the debtor, and a certificate of service will be filed with the
   court. Objections to confirmation of the plan must be in writing and filed no later than 7 days prior to the date
   scheduled for hearing on confirmation.
   If objections are timely filed, the hearing on confirmation will be held on 6/13/19 at 10:30 AM
   Location: Room 208, 300 Fayetteville Street, Raleigh, NC 27602
   If an amended plan is filed within 14 days of the confirmation hearing, a motion to continue the hearing must be filed.
10. Creditors with a foreign address
    If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to extend the
    deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have any questions about your
    rights in this case.
11. Electronic noticing
    Parties may opt to receive notices from the court via email rather than U.S. Mail. Register at
    https://bankruptcynotices.uscourts.gov.
12. Filing a chapter 13 bankruptcy case
    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts according to a plan.
    A plan is not effective unless the court confirms it. You may object to confirmation of the plan and appear at the confirmation
    hearing. A copy or summary of the plan, if not enclosed, will be sent to you later, and if the confirmation hearing is not
    indicated on this notice, you will be sent notice of the confirmation hearing. The debtor will remain in possession of the
    property and may continue to operate the business, if any, unless the court orders otherwise.
13. Exempt property
    The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed to
    creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as exempt. You may inspect
    that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does not authorize an
    exemption that debtors claimed, you may file an objection by the deadline.
14. Discharge of debts
    Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt. However,
    unless the court orders otherwise, the debts will not be discharged until all payments under the plan are made. A discharge
    means that creditors may never try to collect the debt from the debtors personally except as provided in the plan. If you want
    to have a particular debt excepted from discharge under 11 U.S.C. § 523(a)(2) or (4), you must file a complaint and pay the
    filing fee in the bankruptcy clerk's office by the deadline. If you believe that the debtors are not entitled to a discharge of any
    of their debts under 11 U.S.C. § 1328(f), you must file a motion by the deadline.
